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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 UNITED STATES OF AMERICA,

 Plaintiff,

 v.                                     Case No. 6:24-cr-261-CEM-LHP

 ALAN FILION,
     a/k/a "Nazgul Swattings,"
     a/k/a "Torswats V3,"
     a/k/a "Third Reich of Kiwiswats,"
     a/k/a "The Table Swats,"
     a/k/a "Angmar," and
     a/k/a "Torswats"


 Defendant.

                              DEFENDANT’S WAIVER

        The Defendant, Alan Filion, by and through his undersigned counsel will

 waive his appearance at any future restitution hearings. A signed copy of Mr.

 Filion’s waiver is attached as Exhibit A.

        Respectfully submitted this 11th day of February 2025.

                                              /s/ Dan Eckhart, Esq.
                                              DAN ECKHART, ESQ.
                                              Florida Bar No. 488674
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                                              Orlando, FL 32801
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                         CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2025, I electronically filed the
 foregoing with the Clerk of Court by using the CM/ECF system which will send a
 notice of electronic filing to the United States Attorney's Office.

                                            /s/ Dan Eckhart, Esq.
                                            DAN ECKHART, ESQ.
                                            Florida Bar No. 488674




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